Case: 4:19-cr-00312-CDP Doc. #: 52 Filed: 08/06/19 Page: 1 of 3 PageID #: 323



                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI
                                  EASTERN DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
       Plaintiff,                             )
                                              )       NO. 4:19 CR 00312 CDP
v.                                            )
                                              )
STEVEN V. STENGER,                            )
                                              )
       Defendant.                             )

                         GOVERNMENT’S RESPONSE TO
                    DEFENDANT’S SENTENCING MEMORANDUM

       Comes now the United States of America, by and through Reginald Harris, Attorney for

the United States Acting under Authority Conferred by 28 U.S.C. Section 515, and Hal

Goldsmith, Assistant United States Attorney for the Eastern District of Missouri, and for its

brief Response to Defendant’s Sentencing Memorandum (Doc. 46), states to this Honorable

Court as follows:

       1.      Defendant suggests that this Court should exercise leniency in his sentencing due

to his efforts at paying restitution prior to his sentencing hearing. However, the cases relied

upon by defendant are fraud cases, where the defendants defrauded other individuals and entities

out of specific known quantities of money. None of those defendants were public officials, as

defendant Stenger is, charged with depriving his constituents of their right to his honest services.

That’s a significant distinction, as it is much more difficult, if not impossible, to quantify the

actual harm in an honest services fraud case than in a fraud case where the dollar amount of loss

is easily calculable. Here, the $130,000 involved in the illegal contract provided to Stenger’s

donor John Rallo does not come close to identifying the overall harm caused to the residents of

St. Louis County over the four years of defendant’s honest services fraud scheme. In no way


                                                  1
 Case: 4:19-cr-00312-CDP Doc. #: 52 Filed: 08/06/19 Page: 2 of 3 PageID #: 324



 should defendant’s restitution payment be considered “payment in full” for the intangible harm

 he has caused through his criminal scheme. A more applicable fraud case which involved a

 public official, the Fire Chief of the St. Clair, Missouri and Ladue, Missouri Fire Departments,

 resulted in a sentence within the mid-range of the applicable sentencing guideline range, without

 a variance, despite the fact that the defendant had paid substantially all of the approximately

 $600,000 in restitution prior to his sentencing. United States v. Hinson, 4:13-CR-00010-ERW.

 This is not simply a monetary fraud case, and defendant Stenger’s sentence should be

 determined in the true context of what it is; public corruption.

        2.      Defendant also points to his status as a first offender as a basis for leniency. The

 sentencing guidelines, however, have already taken that factor into consideration, and it does

 not merit further consideration by this Court. Needless to say, the vast majority of publicly

 elected officials are first offenders, and if every one of them were to be given additional benefit

 as a result of that status, the sentencing guidelines would become meaningless, and the serious

 harm caused by the corrupt actions of our public officials would be ignored.

       3.       The government set out a number of facts in its Sentencing Memorandum.

Defendant, through counsel, has stipulated to the accuracy of those facts, and has not contested

those facts. Thus, this Court can consider and rely upon those additional facts in fashioning an

appropriate sentence in this case. Defendant asks this Court to sentence him at the low end of the

sentencing guideline range. The government submits that, based upon all of the facts and

circumstances in this case, a sentence at the high end of the sentencing guideline range is more

appropriate to address the scope, breadth and harm caused by defendant’s criminal conduct.

       WHEREFORE, the United States of America prays that this Honorable Court sentence

defendant to an appropriate term of imprisonment at the high end of the advisory guideline range,



                                                 2
 Case: 4:19-cr-00312-CDP Doc. #: 52 Filed: 08/06/19 Page: 3 of 3 PageID #: 325



without a downward variance, and for such other relief as this Court deems appropriate and just

under the circumstances.

                                                   Respectfully submitted,

                                                   REGINALD HARRIS
                                                   Attorney for the United States
                                                   Acting Under Authority Conferred by
                                                   28 U.S.C. Section 515

                                                   s/ Hal Goldsmith
                                                   HAL GOLDSMITH #32984
                                                   Assistant United States Attorney
                                                   111 S. 10 Street, Room 20.331
                                                   St. Louis, Missouri 63102
                                                   (314) 539-2200


                                  CERTIFICATE OF SERVICE

        I hereby certify that on August 6, 2019, the foregoing was filed electronically with the

 Clerk of the Court to be served by operation of the Court’s electronic filing system upon the

 defendant’s counsel of record.



                                                   /s/ Hal Goldsmith
                                                   HAL GOLDSMITH
                                                   Assistant United States Attorney




                                               3
